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                            United States District Court
                                      for the
                            Southern District of Florida

   Western-Southern Life Assurance       )
   Company, Plaintiff,                   )
                                         )
   v.                                    ) Civil Action No. 20-24468-Civ-Scola
                                         )
   Elma Grace Pearson and others,        )
   Defendants.                           )
                           Order On Motion To Dismiss
         This matter is before the Court upon the Plaintiff-Stakeholder’s motion to
  dismiss the Plaintiff-Stakeholder in this interpleader action. For the reasons
  stated below, the Court grants the Plaintiff-Stakeholder’s motion. (ECF No.
  39.)
         The Plaintiff-Stakeholder filed its interpleader complaint in this matter
  on October 29, 2020. (ECF No. 1.) In its March 5, 2021 order on default
  judgment, the Court found the Plaintiff-Stakeholder’s action to be “well-plead”
  but noted the Court did not yet have jurisdiction over the matter pursuant to
  28 U.S.C. § 1335 because the Plaintiff-Stakeholder had not yet deposited the
  funds at issue into the Court’s registry. (ECF No. 30.) Thereafter, on April 20,
  2021, the Plaintiff-Stakeholder moved to deposit the funds at issue into the
  Court’s registry (ECF No. 33), the Court granted the Plaintiff-Stakeholder’s
  motion (ECF No. 34), and on April 26, 2021, the Plaintiff-Stakeholder filed a
  notice with the Court showing the funds had been deposited as ordered by the
  Court (ECF No. 37). After depositing the funds at issue into the Court’s
  registry, the Plaintiff-Stakeholder moved to be dismissed from this action on
  the grounds that the Plaintiff-Stakeholder is disinterested. (ECF No. 39.) In its
  motion, the Plaintiff-Stakeholder noted that one of the Defendants in this
  matter, Elma Glenn Pearson, expressed opposition to the motion. On May 19,
  2021, Ms. Pearson filed her opposition to the Plaintiff-Stakeholder’s motion
  indicating her opposition was based on the fact that the Plaintiff-Stakeholder’s
  dismissal from this action may mean that the Defendant is “unable to discover
  documents necessary to establish a prima facie case” and based on its belief
  that the Plaintiff-Stakeholder “has not stated it has a ‘good faith’ belief in the
  existence of colorable competing claims against the stake.” (ECF No. 42.) The
  Defendant also states that because of the limited amount of funds involved, the
  Defendant “does not object to the dismissal of the Stakeholder if the Court
  deems the motion is proper as the attorney’s fees and costs of the Stakeholder
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  could substantially reduce the amount Defendant . . . would be entitled to.”
  (Id.) Accordingly, it appears the Defendant is confusingly taking the position of
  both opposing and not opposing the Plaintiff-Stakeholder’s motion.
         In interpleader actions, where, as here, a stakeholder is disinterested,
  courts discharge such stakeholders from liability and dismiss them from the
  action, a practice which is “particularly common in cases involving competing
  claims to life insurance proceeds where the interpleading insurers—as
  disinterested stakeholders—deposit the res into the court’s registry and request
  immediate dismissal from the action.” Orseck, P.A. v. Servicios Legales De
  Mesoamerica S. De R.L., 699 F. Supp. 2d 1344, 1349 (S.D. Fla. 2010) (Gold, J.).
  Disinterested stakeholders may be awarded attorneys’ fees, within the Court’s
  discretion, where the disinterested stakeholder has acted in good faith. Id. at
  1349-50.
         At the outset, the Court notes it has already found the Plaintiff-
  Stakeholder’s complaint to be well-plead, and therefore is confused by the
  Defendant Elma Grace Pearson’s contention that Western-Southern has failed
  to state its good faith belief that there are multiple colorable claims at issue in
  this action. (ECF No. 30, ECF No. 42.) As set forth in the Court’s prior orders,
  there is clearly a question as to whether Elma Grace Pearson alone, or Elma
  Grace Pearson and the other non-defaulting Defendants are entitled to the life
  insurance policy proceeds at issue in this matter. (ECF No. 30, at 1-2.) The
  Court disagrees with the Defendant’s contention.
         The Court also finds unpersuasive Ms. Pearson’s conclusory allegation
  that she will somehow be prejudiced in this matter if the Plaintiff-Stakeholder
  is dismissed from this action. As other Courts have recognized, a stakeholder’s
  dismissal from an action “does not preclude discovery” because the dismissed
  stakeholder “is still obligated to respond to any proper nonparty discovery
  request as prescribed under the Federal Rules of Civil Procedure.” American
  United Life Ins. Co. v. Bell, No. 2:09-cv-907-TFM, 2010 WL 1995104, at *2
  (M.D. Ala. May 18, 2010). Accordingly, the Court finds the Defendant’s second
  basis for opposing the motion to be without basis. Indeed, the Defendant fails
  to identify a single piece of evidence that would be otherwise undiscoverable if
  the Plaintiff-Stakeholder is dismissed from this action.
         While it is unclear if the Defendant does or does not oppose the Plaintiff-
  Stakeholder’s motion, even if the motion is opposed, the Court finds the
  Plaintiff-Stakeholder’s dismissal to be warranted as the Plaintiff-Stakeholder is
  disinterested, the interpleader action is well-plead, and the Defendant is fully
  capable of undertaking necessary discovery consistent with the Federal Rules
  of Civil Procedure regardless of whether or not the Plaintiff-Stakeholder
  remains a party to this action.
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         Based on the above, it is ordered and adjudged that:
             1. The Plaintiff-Stakeholder, Western-Southern Life Assurance
                 Company is dismissed with prejudice from this action and is
                 discharged from all further liability under the policy at issue,
                 subject to its right to request reasonable attorney’s fees and costs
                 incurred in connection with the filing and prosecution of this
                 interpleader action.
             2. The policy proceed claimants, Elma Grace Pearson, Leon Glenn
                 Pearson, Ernestine Pearson, and Gloria Prescott, 1 and their
                respective agents, attorneys, representatives, heirs, executors,
                assigns, and all persons claiming through or under them, are
                permanently enjoined and restrained from instituting or pursuing
                any state or federal court action for the recovery of the death
                benefits or relating in any way to Western-Southern Life
                Assurance Company’s actions with respect to the handling of
                these claims under policy W 191976.
        Consistent with the above, the Court grants the Plaintiff-Stakeholder’s
  motion to dismiss (ECF No. 39.) The Court directs the Clerk to mail copies of
  this order to any Defendant who is appearing pro se at the addresses listed on
  the docket.
                Done and ordered at Miami, Florida on May 20, 2021.

                                                     ________________________________
                                                     Robert N. Scola, Jr.
                                                     United States District Judge




  1 For the avoidance of doubt, the Court notes that on February 2, 2021, the Clerk found

  Defendant Gloria Prescott to be in default and the Court entered default judgment against her
  on May 10, 2021. As Ms. Prescott has failed to appear in this matter and failed to contest her
  default, Ms. Prescott has already forfeited any claim or entitlement she may otherwise have
  asserted to the funds at issue in this matter.
